       Case 1:21-cv-02130-CJN Document 41-6 Filed 11/18/21 Page 1 of 6




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,

                Plaintiffs,              No. 1:21-cv-02130-CJN

      v.

HERRING NETWORKS, INC., et al.,          Judge Carl J. Nichols

                Defendants.




                              EXHIBIT E
      Case 1:21-cv-02130-CJN Document 41-6 Filed 11/18/21 Page 2 of 6




DISTRICT COURT, DENVER COUNTY,
COLORADO
1437 Bannock Street
Denver, CO 80202


ERIC COOMER, Ph.D.,
Plaintiff

vs.

DONALD J. TRUMP FOR PRESIDENT,
INC., et al.,
Defendants                                       COURT USE ONLY


Attorneys for Plaintiff                  Case Number:      2020cv034319
Charles J. Cain, No. 51020
ccain@cstrial.com                        Division Courtroom:    409
Steve Skarnulis, No. 21PHV6401
skarnulis@cstrial.com
Bradley A. Kloewer, No. 50565
bkloewer@cstrial.com
Zachary H. Bowman, No. 21PHV6676
zbowman@cstrial.com
CAIN & SKARNULIS PLLC
P. O. Box 1064
Salida, Colorado 81201
719-530-3011 /512-477-5011 (Fax)

Thomas M. Rogers III, No. 28809
trey@rklawpc.com
Mark Grueskin, No. 14621
mark@rklawpc.com
Andrew E. Ho, No. 40381
andrew@rklawpc.com
RechtKornfeld PC
1600 Stout Street, Suite 1400
Denver, Colorado 80202
303-573-1900/303-446-9400 (Fax)

                            EXHIBIT U
                    DECLARATION OF INDIVIDUAL 1
      Case 1:21-cv-02130-CJN Document 41-6 Filed 11/18/21 Page 3 of 6




DISTRICT COURT, DENVER COUNTY,
COLORADO
1437Bannock Street
Denver, CO 80202


ERIC COOMER, Ph.D.,
Plaintiff

vs.

DONALD J. TRUMP FOR PRESIDENT,
INC., et al.,                                  • COURT USE ONLY .&
Defendants
Attorneys for Plaintiff
Charles J. Cain, No. 51020               Case Number:      202ocvo343 19
ccain@cstrial.com
Steve Skarnulis, No. 21PHV6401           Division Courtroom:    409
skarnulis@cstrial.com
Bradley A. Kloewer, No. 50565
bkloewer@cstrial.com
Zachary H.Bowman, No. 21PHV6676
zbowman@cstrial.com
CAIN & SKARNULIS PLLC
P. O.Box1064
Salida, Colorado 81201
719-530-3011/512-477-5011 (Fax)

Thomas M. Rogers III, No. 28809
trey@rklawpc.com
Mark Grueskin, No. 14621
mark@rklawpc.com
Andrew E. Ho, No. 40381
andrew@rklawpc.com
RechtKornfeld PC
1600 Stout Street, Suite 1400
Denver, Colorado 80202
303-573-1900/303-44 6-9400 (Fax)

                DECLARATION OF AUONTAI ANDERSON




                                     1
        Case 1:21-cv-02130-CJN Document 41-6 Filed 11/18/21 Page 4 of 6




       I, Auontai Anderson, declare and state:
       1.     My name is Auontai Anderson, but I am known in most circles as Tay

Anderson. I am over the age of twenty-one years, am of sound mind, and am fully

competent to make this Declaration. I have personal knowledge of the matters stated in
this Declaration, which are true and correct.

       2.     I am the At-Large Director of the Denver Public Schools Board of Education.

I was elected to this position in 2019.

       3.     Throughout the spring and summer of 2020, the Black Lives Matter protest

movement grew rapidly in Colorado, and specifically in Denver, following the murder of

George Floyd in Minneapolis. The movement drew attention to similar issues here in
Denver, specifically with respect to concerns about police brutality.

       4.     Through my consistent and vocal involvement in the Black Lives Matter

movement, my public persona grew and I assumed both formal and informal leadership

roles within the movement.

       5.     As a result of the successes of the Black Lives Matter movement in Colorado,
including the historic passage of the Enhance Law Enforcement Integrity Act, various

political operatives that disagreed with our objectives began to target our work, with some

individuals even targeting me personally.
       6.     One of the individuals to target Black Lives Matter activists was Joseph A.

Camp (Camp). Camp frequently attended public protests, where he would photograph
participants, harass attendees, and provoke confrontations.




                                            2
         Case 1:21-cv-02130-CJN Document 41-6 Filed 11/18/21 Page 5 of 6




        7.     Mr. Camp's presence was so frequent and intrusive that we eventually

complained to law enforcement, where we filed complaints against Camp related to

harassment and stalking.

        8.     On Wednesday, September 23, 2020, Camp attended a protest in Denver
that I had helped organize to demand justice for the murder of Breonna Taylor. Camp

arrived with multiple armed "bodyguards" who were ticketed for carrying large-capacity

gun magazines that are banned in the city. 1

        9.     As a result of Camp's increasingly aggressive and potentially violent

conduct, many members of the Denver progressive community, including myself, were

deeply concerned for our own personal safety and that of our community. We scheduled
a conference call to address these concerns on September 25, 2020. I do not recall any

other calls during the mid-late September time frame that were scheduled specifically to

discuss Camp.

        10.    On September 25, 2020, I participated in a zoom conference call with

roughly 15-20 other Denver activists, where we discussed the escalating threat of violence

from Camp and how best to counter his tactics peacefully. As the administrator of the

call, I was generally familiar with all of the call participants, who were visible during the

call.
        11.    During that call, no one mentioned 'Eric from Dominion' and I am not
familiar with anyone who would meet that description.


1
 Kevin Beaty, Men with guns were stopped by police at a downtown Denver protest. A local livestreamer
says      he        hired      them   as     security,      DENVERITE,     Sep.       25,       2020,
https://denverite.com/2020/09/25/livestreamer-savs-he-hired-men-stopped-with-guns-at-denver­
protest/ Oast visited Aug. 24, 2021).



                                                 3
           Case 1:21-cv-02130-CJN Document 41-6 Filed 11/18/21 Page 6 of 6




       12.     I do not know Eric Coomer, nor have I ever met him.

       13.     In all my time working in the Denver community, and specifically with

members of the community that are or have been actively engaged in the Black Lives

Matter movement or other related movements for social justice, I have never heard the

name Eric Coomer or had any interactions with anyone who claimed to know him.

       14.     I only became aware of Dominion Voting Systems in the weeks after the

2020 presidential election,   and I have not been following the news coverage of Dominion

closely.

       15.     Pursuant to C.R.S. § 13-27-101, et. seq., I declare under penalty of perjury

under the law of Colorado that the foregoing is true and correct.

       Further Declarant sayeth naught.

Executed on the 1st day of September 2021 in the City and Co        of Denver, Colorado.




STATE OF COLORADO                           )
                                            )       ss.
CITY AND COUNTY OF DENVER                   )

       The foregoing Affidavit was acknowledged by Auontai Anderson before me on this�
day of September 2021.
                                                                             ERIN HOLWEGER
                                                                             NOTARY PUBLIC
       Witness my hand and official seal.                 [SEAL]           STATE OF COLORADO
                                                                          NOTARY ID 20114042610
                                                                    MY COMMISSION EXPIRES AUGUST 13, 2023

       Notary public: � �

       My commission expires:     8' / J3};;26 ;/ 3




                                                4
